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 1   [Stipulating parties listed on signature page]

 2

 3                                  UNITED STATES DISTRICT COURT

 4                               NORTHERN DISTRICT OF CALIFORNIA

 5                                       SAN FRANCISCO DIVISION

 6   In re: CATHODE RAY TUBE (CRT)                       )   Case No. 07-5944 SC
     ANTITRUST LITIGATION                                )
 7                                                       )   MDL No. 1917
                                                         )
 8   This Document Relates to:                               STIPULATION AND [PROPOSED]
                                                         )
     Electrograph Systems, Inc., et al. v. Hitachi,          ORDER OF DISMISSAL
                                                         )
 9   Ltd., et al., No. 3:11-cv-01656-SC                  )
10   Electrograph Systems, Inc., et al. v. Technicolor   )
     SA, et al., No. 3:13-cv-05724-SC                    )
11                                                       )
     CompuCom Sys., Inc. v. Hitachi, Ltd., et al., No.   )
12   3:11-cv-06396-SC                                    )
     Interbond Corp. of Am. v. Hitachi, Ltd. et al.,     )
13
     No. 3:11-cv-06276-SC                                )
14                                                       )
     Interbond Corp. of America v. Technicolor SA,       )
15   et al., No. 3:13-cv-05727-SC                        )
     Office Depot, Inc. v. Hitachi, Ltd. et al, No.      )
16   3:11-cv-06276-SC                                    )
17                                                       )
     Office Depot, Inc. v. Technicolor SA, et al., No.
                                                         )
     3:13-cv-05726-SC
18                                                       )
     P.C. Richard & Son Long Island Corp., et al., v.    )
19   Hitachi, Ltd., et al.¸ No. 3:12-cv-02648-SC         )
     P.C. Richard & Son Long Island Corp., et al. v.     )
20                                                       )
     Technicolor SA, et al., No. 3:13-cv-05725-SC
21                                                       )
     Schultze Agency Services, LLC on behalf of          )
22   Tweeter Opco, LLC and Tweeter Newco, LLC v.         )
     Hitachi, Ltd., et al., No. 3:12-cv-2649-SC          )
23   Schultze Agency Services, LLC on behalf of          )
     Tweeter Opco, LLC and Tweeter Newco, LLC v.         )
24                                                       )
     Technicolor SA., et al., No. 3:13-cv-05668-SC
25                                                       )
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                                   STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
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 1          Plaintiffs Electrograph Systems, Inc. and Electrograph Technologies, Corp. (collectively,

 2   “Electrograph”); CompuCom Systems, Inc. (“CompuCom”); Interbond Corporation of America

 3   (“BrandsMart”); Office Depot, Inc. (“Office Depot”); P.C. Richard & Son Long Island Corporation

 4   (“P.C. Richard”); MARTA Cooperative of America, Inc. (“MARTA”); ABC Appliance, Inc. (“ABC

 5   Warehouse”); and Schultze Agency Services, LLC on behalf of Tweeter Opco, LLC and Tweeter

 6   Newco, LLC (“Tweeter”) (collectively, “Stipulating Plaintiffs”), and the undersigned Defendants, by

 7   their respective attorneys and pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, state

 8   as follows:

 9          1.      On October 3, 2013, Electrograph filed its Second Amended Complaint (“SAC”) in

10   this case (MDL Dkt. No. 1976). In its SAC, Electrograph asserts claims for relief against all

11   Defendants except Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies

12   Displays Americas LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions

13   America, Inc., and Mitsubishi Electric US, Inc. (f/k/a Mitsubishi Electric & Electronics USA, Inc.)

14   under the Sherman Act, the California Cartwright Act, California Unfair Competition Laws, the New

15   York Donnelly Act, and New York Unfair Competition Law.

16          2.      On December 20, 2013, Electrograph filed its First Amended Complaint against

17   Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays Americas

18   LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc., and

19   Mitsubishi Electric US, Inc. (MDL Dkt. No. 2279-4) In its FAC, Electrograph asserts claims for

20   relief under the Sherman Act, the California Cartwright Act, California Unfair Competition Laws,

21   the New York Donnelly Act, New and York Unfair Competition Law.

22          3.      On October 3, 2013, CompuCom filed its First Amended Complaint (“FAC”) in this

23   case (MDL Dkt. No. 1975). In its FAC, CompuCom asserts claims for relief against all Defendants

24   except Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays

25   Americas LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc.,

26   and Mitsubishi Electric US, Inc. under the Sherman Act, the California Cartwright Act, California

27   Unfair Competition Law, and the New York Donnelly Act.
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 1          4.        On October 3, 2013, BrandsMart filed its First Amended Complaint in this case

 2   (MDL Dkt. No. 1974). In its FAC, BrandsMart asserts claims for relief against all Defendants

 3   except Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays

 4   Americas LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc.,

 5   and Mitsubishi Electric US, Inc. under the Sherman Act and the Florida Deceptive and Unfair Trade

 6   Practices Act.

 7          5.        On December 20, 2013, BrandsMart filed its First Amended Complaint against

 8   Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays Americas

 9   LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc., and

10   Mitsubishi Electric US, Inc. (MDL Dkt. No. 2279-6) In its FAC, BrandsMart asserts claims for

11   relief under the Sherman Act and the Florida Deceptive and Unfair Trade Practices Act.

12          6.        On October 3, 2013, Office Depot filed its First Amended Complaint in this case

13   (MDL Dkt. No. 1977). In its FAC, Office Depot asserts claims for relief against all Defendants

14   except Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays

15   Americas LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc.,

16   and Mitsubishi Electric US, Inc. under the Sherman Act, the Florida Deceptive and Unfair Trade

17   Practices Act, the California Cartwright Act, and California Unfair Competition Laws.

18          7.        On December 20, 2013, Office Depot filed its First Amended Complaint against

19   Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays Americas

20   LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc., and

21   Mitsubishi Electric US, Inc. (MDL Dkt. No. 2279-8) In its FAC, Office Depot asserts claims for

22   relief under the Sherman Act, the Florida Deceptive and Unfair Trade Practices Act, the California

23   Cartwright Act, and California Unfair Competition Laws.

24          8.        On October 3, 2013, P.C. Richard filed its First Amended Complaint in this case

25   (MDL Dkt. No. 1979). In its FAC, P.C. Richard asserts claims for relief against all Defendants

26   except Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays

27   Americas LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc.,
28   and Mitsubishi Electric US, Inc. under the Sherman Act and the New York Donnelly Act.

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 1           9.      On December 20, 2013, P.C. Richard filed its First Amended Complaint against

 2   Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays Americas

 3   LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc., and

 4   Mitsubishi Electric US, Inc. (MDL Dkt. No. 2279-10) In its FAC, P.C. Richard asserts claims for

 5   relief under the Sherman Act and the New York Donnelly Act.

 6           10.     On October 3, 2013, MARTA filed its First Amended Complaint in this case (MDL

 7   Dkt. No. 1979). In its FAC, MARTA asserts claims for relief against all Defendants except

 8   Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays Americas

 9   LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc., and

10   Mitsubishi Electric US, Inc. under the Sherman Act, the Arizona Revised Statutes §§ 44-1401, et

11   seq., and the Illinois Antitrust Act.

12           11.     On December 20, 2013, MARTA filed its First Amended Complaint against

13   Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays Americas

14   LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc., and

15   Mitsubishi Electric US, Inc. (MDL Dkt. No. 2279-10) In its FAC, MARTA asserts claims for relief

16   under the Sherman Act, the Arizona Revised Statutes §§ 44-1401, et seq., and the Illinois Antitrust

17   Act.

18           12.     On October 3, 2013, ABC Warehouse filed its First Amended Complaint in this case

19   (MDL Dkt. No. 1979). In its FAC, ABC Warehouse asserts claims for relief against all Defendants

20   except Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays

21   Americas LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc.,

22   and Mitsubishi Electric US, Inc. under the Sherman Act and the Michigan Compiled Laws §§

23   445.771, et seq.

24           13.     On December 20, 2013, ABC Warehouse filed its First Amended Complaint against

25   Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays Americas

26   LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc., and

27   Mitsubishi Electric US, Inc. (MDL Dkt. No. 2279-10) In its FAC, ABC Warehouse asserts claims
28   for relief under the Sherman Act and the Michigan Compiled Laws §§ 445.771, et seq.

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 1          14.     On October 3, 2013, Tweeter filed its First Amended Complaint in this case (MDL

 2   Dkt. No. 1979). In its FAC, Tweeter asserts claims for relief against all Defendants except

 3   Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays Americas

 4   LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc., and

 5   Mitsubishi Electric US, Inc. under the Sherman Act.

 6          15.     On December 20, 2013, Tweeter filed its First Amended Complaint against

 7   Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays Americas

 8   LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc., and

 9   Mitsubishi Electric US, Inc. (MDL Dkt. No. 2279-10). In its FAC, Tweeter asserts claims for relief

10   under the Sherman Act.

11          16.     Stipulating Plaintiffs now desire to dismiss with prejudice their claims against

12   Defendants under the specific state laws outlines in paragraphs 1-13, above, with the exception of

13   the claims of BrandsMart and Office Depot under the Florida Deceptive and Unfair Trade Practices

14   Act. Except as described in the following Paragraph, BrandsMart and Office Depot are not

15   dismissing, and will continue to prosecute, those Florida Deceptive and Unfair Trade Practices Act

16   claims. Further, Stipulating Plaintiffs are not dismissing, and will continue to prosecute, all claims

17   against Defendants brought pursuant to federal law, including the Sherman Act and the Clayton Act.

18          17.     Office Depot will not maintain any claim for relief under the Florida Deceptive and

19   Unfair Trade Practices Act which is based upon purchases by OfficeMax Incorporated (or its

20   subsidiaries) through 2003. With respect to such OfficeMax Incorporated purchases, Office Depot is

21   maintaining and will continue to prosecute its claims brought pursuant to federal law, including the

22   Sherman Act and the Clayton Act.

23          18.     Stipulating Plaintiffs and Defendants agree that each party shall bear its own costs

24   and attorneys’ fees in connection with the dismissed claims.

25          19.     As a result of the dismissals of these state law claims with prejudice, and contingent

26   upon the Court’s approval of this Stipulation, Defendants will withdraw certain pending summary

27   judgment motions, in whole or in part, as follows:
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                                  STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
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 1           a.     Defendants Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes

 2           (Malaysia) Sdn. Bhd.’s Motion for Summary Judgment on Direct Action Plaintiffs’

 3           State Law Claims on Due Process Grounds (MDL Dkt. No. 2973) is withdrawn as to

 4           CompuCom’s claims under California and New York law, P.C. Richard’s claims

 5           under New York law, MARTA’s claims under Arizona and Illinois law, ABC

 6           Warehouse’s claims under Michigan law, and Office Depot’s claims under California

 7           Law, but continues to apply to all other claims and Plaintiffs addressed in the motion.

 8           b.     Defendants’ Notice of Motion and Motion for Partial Summary Judgment as

 9           to Indirect Purchaser Plaintiffs’ and Certain Direct Action Plaintiffs’ State Law

10           Claims on Statute of Limitations Grounds (MDL Dkt. No. 2978) is withdrawn as to

11           Electrograph’s claims under New York law only, and continues to apply to all other

12           claims and Plaintiffs addressed in the motion.

13           c.     Thomson Consumer’s Notice of Motion and Motion for Summary Judgment

14           and Partial Summary Judgment (MDL Dkt. No. 2981) is withdrawn as to

15           Electrograph’s claims under New York law and P.C. Richard’s claims under New

16           York law.

17           d.     Defendant Technologies Displays Americas LLC’s Motion for Summary

18           Judgment (MDL Dkt. No. 2984) is withdrawn as to Electrograph’s claims under

19           California and New York law, Office Depot’s claims under California law, P.C.

20           Richard’s claims under New York law, MARTA’s claims under Arizona and Illinois

21           law, and ABC Warehouse’s claims under Michigan law, but remains as to Office

22           Depot’s and BrandsMart’s Florida claims.

23           e.     Defendants’ Notice of Motion and Motion for Summary Judgment With

24           Respect to MARTA (MDL Dkt No. 2994) is withdrawn as to MARTA’s claims under

25           Arizona and Illinois law.

26           f.     Defendants’ Joint Notice of Motion and Motion for Partial Summary

27           Judgment Against Electrograph, P.C. Richard and MARTA on Choice of Law
28           Grounds (MDL Dkt. No. 3000) is withdrawn.

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 1           g.     Defendants’ Joint Notice of Motion and Motion for Partial Summary

 2           Judgment Against CompuCom Systems, Inc. on Choice of Law Grounds (MDL Dkt.

 3           No. 3002) is withdrawn.

 4           h.     Defendants’ Joint Notice of Motion and Motion for Partial Summary

 5           Judgment Against Office Depot on Choice of Law Grounds (MDL Dkt. No. 3021) is

 6           withdrawn.

 7           i.     Defendants’ Notice of Motion and Motion for Partial Summary Judgment on

 8           Plaintiffs’ Indirect Purchaser Claims Based on Foreign Sales (MDL Dkt. No. 3005) is

 9           withdrawn as to Electrograph’s claims under California and New York law,

10           CompuCom’s claims under California and New York law, Office Depot’s claims

11           under California law, P.C. Richard’s claims under New York law, MARTA’s claims

12           under Arizona and Illinois law, and ABC Warehouse’s claims under Michigan law,

13           but remains as to Office Depot’s and BrandsMart’s Florida claims.

14           j.     Defendants’ Joint Notice of Motion and Motion for Summary Judgment

15           Based Upon Plaintiffs’ Failure to Distinguish Between Actionable and Non-

16           Actionable Damages Under the FTAIA (MDL Dkt. No. 3008) is withdrawn as to

17           Electrograph’s claims under California and New York law, CompuCom’s claims

18           under California and New York law, Office Depot’s claims under California law, P.C.

19           Richard’s claims under New York law, MARTA’s claims under Arizona and Illinois

20           law, and ABC Warehouse’s claims under Michigan law, but remains as to Office

21           Depot’s and BrandsMart’s Florida claims.

22           k.     Defendants’ Joint Notice of Motion and Motion for Partial Summary

23           Judgment Against Certain Direct Action Plaintiffs on Due Process Grounds (MDL

24           Dkt. No. 3029) is withdrawn as to CompuCom’s claims under California and New

25           York law and Office Depot’s claims under California law.

26           l.     Defendants’ Joint Notice of Motion and Motion for Partial Summary

27           Judgment Against Certain Direct Action Plaintiffs on State Law Claims Limited to
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 1                  Intrastate Activity (MDL Dkt. No. 3031) is withdrawn as to MARTA’s claims under

 2                  Arizona law, but remains as to Office Depot’s and BrandsMart’s Florida claims.

 3                  m.      Defendants’ Joint Re-Notice of Motion for Partial Summary Judgment

 4                  Against Indirect Purchaser Plaintiffs and Certain Direct Action Plaintiffs for Lack of

 5                  Antitrust Injury and Antitrust Standing Under Federal and Certain State Laws (MDL

 6                  Dkt. No. 3123) is withdrawn as to Electrograph’s claims under California and New

 7                  York law, CompuCom’s claims under California and New York law, Office Depot’s

 8                  claims under California law, P.C. Richard’s claims under New York law, MARTA’s

 9                  claims under Illinois law, and ABC Warehouse’s claims under Michigan law, but

10                  remains as to Office Depot’s and BrandsMart’s Florida claims.

11                  n.      Defendant Beijing Matsushita Color CRT Co., Ltd.’s Notice of Motion and

12                  Motion for Summary Judgment for Failure to Adduce Evidence Sufficient to State a

13                  Claim in Light of the FTAIA and for Lack of Standing to Seek Injunctive Relief

14                  (MDL Dkt. No. 2990) is withdrawn as to Electrograph’s claims under California and

15                  New York law.

16                  o.      Any other motion that seeks to dismiss any of the Stipulating Plaintiffs’ state

17                  law claims referenced in Paragraph 1-13, except BrandsMart’s and Office Depot’s

18                  Florida claims, is withdrawn as to those claims.

19           20.    This stipulation and the Court’s order thereon shall have no bearing on the

20   applicability of the aforementioned motions in the cases of plaintiffs other than the Stipulating

21   Plaintiffs.

22           WHEREFORE, the parties stipulate and agree that the Stipulating Plaintiffs’ state law claims

23   referenced in Paragraph 1-13 are dismissed with prejudice. This dismissal does not apply to the

24   claims of Stipulating Plaintiffs brought under federal law (including the Sherman Act and the

25   Clayton Act), or to the claims of BrandsMart and Office Depot brought under the Florida Deceptive

26   and Unfair Trade Practices Act.

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                                  STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
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 1          The undersigned parties jointly and respectfully request that the Court enter this stipulation

 2   as an order.

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 4   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     Dated:___________________                          ______________________________________




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                                                                    Hon. Samuel Conti




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 7                                                              United States District Judge




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                                 STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
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 1          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

 2   document has been obtained from each of the below signatories.

 3

 4

 5   Dated: December 12, 2014                                /s/ Philip J. Iovieno

 6                                                           Philip J. Iovieno
                                                             Anne M. Nardacci
 7                                                           BOIES, SCHILLER & FLEXNER LLP
                                                             30 South Pearl Street, 11th Floor
 8                                                           Albany, NY 12207
                                                             Telephone: (518) 434-0600
 9                                                           Facsimile: (518) 434-0665
                                                             Email: piovieno@bsfllp.com
10                                                                     anardacci@bsfllp.com

11                                                           William A. Isaacson
                                                             BOIES, SCHILLER & FLEXNER LLP
12                                                           5301 Wisconsin Ave. NW, Suite 800
                                                             Washington, D.C. 20015
13                                                           Telephone: (202) 237-2727
                                                             Facsimile: (202) 237-6131
14                                                           Email: wisaacson@bsfllp.com

15                                                           Stuart Singer
                                                             BOIES, SCHILLER & FLEXNER LLP
16                                                           401 East Las Olas Blvd., Suite 1200
                                                             Fort Lauderdale, FL 33301
17                                                           Telephone: (954) 356-0011
                                                             Facsimile: (954) 356-0022
18                                                           Email: ssinger@bsfllp.com

19                                                           Liaison Counsel for Direct Action Plaintiffs
                                                             and Attorneys for Plaintiffs Electrograph
20                                                           Systems, Inc. and Electrograph Technologies,
                                                             Corp., Office Depot, Inc., Compucom Systems,
21                                                           Inc., and Interbond Corporation of America,
                                                             P.C. Richard & Son Long Island Corporation,
22                                                           MARTA Cooperative of America, Inc., ABC
                                                             Appliance, Inc., and Schultze Agency Services,
23                                                           LLC on behalf of Tweeter Opco, LLC and
                                                             Tweeter Newco, LLC
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                                  STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
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 1   DATED: December 12, 2014                KIRKLAND & ELLIS LLP
 2                                           By: /s/ Eliot A. Adelson
 3                                           Eliot A. Adelson
                                             James Maxwell Cooper
 4                                           KIRKLAND & ELLIS LLP
                                             555 California Street, 27th Floor
 5                                           San Francisco, CA 94104
                                             Telephone: (415) 439-1400
 6                                           Facsimile: (415) 439-1500
                                             Email: eadelson@kirkland.com
 7                                           Email: max.cooper@kirkland.com
 8                                           James H. Mutchnik, P.C. (pro hac vice)
                                             Kate Wheaton (pro hac vice)
 9                                           KIRKLAND & ELLIS LLP
                                             300 North LaSalle
10                                           Chicago, Illinois 60654
                                             Tel: (312) 862-2000
11                                           Facsimile: (312) 862-2200
12                                           Attorneys for Defendants Hitachi, Ltd., Hitachi
                                             Displays, Ltd. (n/k/a Japan Display Inc.), Hitachi
13                                           America, Ltd., Hitachi Asia, Ltd., and Hitachi
                                             Electronic Devices (USA), Inc.
14
                                             MUNGER, TOLLES & OLSON LLP
15
                                             By: /s/ Hojoon Hwang
16
                                             JEROME C. ROTH (SBN 159483)
17                                           jerome.roth@mto.com
18                                           HOJOON HWANG (SBN. 184950)
                                             hojoon.hwang@mto.com
19                                           MIRIAM KIM (SBN 238230)
                                             miriam.kim@mto.com
20                                           MUNGER, TOLLES & OLSON LLP
                                             560 Mission Street, Twenty-Seventh Floor
21                                           San Francisco, California 94105-2907
                                             Telephone: (415) 512-4000
22                                           Facsimile: (415) 512-4077
23                                           WILLIAM D. TEMKO (SBN 098858)
                                             William.Temko@mto.com
24                                           MUNGER, TOLLES & OLSON LLP
                                             355 South Grand Avenue, Thirty-Fifth Floor
25                                           Los Angeles, CA 90071-1560
                                             Telephone: (213) 683-9100
26                                           Facsimile: (213) 687-3702
27                                           Attorneys for Defendants LG Electronics, Inc.; LG,
                                             LG Electronics USA, Inc.; and LG Electronics
28                                           Taiwan Taipei Co., Ltd.

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                           STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
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 1                                        WINSTON & STRAWN LLP
 2                                        By: /s/ Jeffrey L. Kessler
 3                                        JEFFREY L. KESSLER (pro hac vice)
                                          JKessler@winston.com
 4                                        A. PAUL VICTOR (pro hac vice)
                                          PVictor@winston.com
 5                                        ALDO A. BADINI (SBN 257086)
                                          ABadini@winston.com
 6                                        EVA W. COLE (pro hac vice)
                                          EWCole@winston.com
 7                                        MOLLY M. DONOVAN
                                          MMDonovan@winston.com
 8                                        WINSTON & STRAWN LLP
                                          200 Park Avenue
 9                                        New York, NY 10166
                                          Telephone: (212) 294-6700
10                                        Facsimile: (212) 294-4700
11                                        WEIL, GOTSHAL & MANGES LLP
12                                        STEVEN A. REISS (pro hac vice)
                                          steven.reiss@weil.com
13                                        DAVID L. YOHAI (pro hac vice)
                                          david.yohai@weil.com
14                                        ADAM C. HEMLOCK (pro hac vice)
                                          adam.hemlock@weil.com
15                                        WEIL, GOTSHAL & MANGES LLP
                                          767 Fifth Avenue
16                                        New York, New York 10153-0119
                                          Telephone: (212) 310-8000
17                                        Facsimile: (212) 310-8007
18                                        Attorneys for Defendants Panasonic Corporation
                                          (f/k/a Matsushita Electric Industrial Co., Ltd.),
19                                        Panasonic Corporation of North America, MT
                                          Picture Display Co., Ltd.
20

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 1

 2                                        By: /s/ Lucius B. Lau
 3                                        CHRISTOPHER M. CURRAN (pro hac vice)
                                          ccurran@whitecase.com
 4                                        LUCIUS B. LAU (pro hac vice)
                                          alau@whitecase.com
 5                                        DANA E. FOSTER (pro hac vice)
                                          defoster@whitecase.com
 6                                        WHITE & CASE LLP
                                          701 Thirteenth Street, N.W.
 7                                        Washington, DC 20005
                                          Telephone: (202) 626-3600
 8                                        Facsimile: (202) 639-9355
 9                                        Attorneys for Defendants Toshiba Corporation,
                                          Toshiba America, Inc., Toshiba America
10                                        Information Systems, Inc., Toshiba America
                                          Consumer Products, L.L.C., and Toshiba America
11                                        Electronic Components, Inc.
12
                                          SHEPPARD MULLIN RICHTER & HAMPTON
13                                        LLP
14                                        By: /s/ Gary L. Halling
15                                        GARY L. HALLING (SBN 66087)
                                          ghalling@sheppardmullin.com
16                                        JAMES L. MCGINNIS (SBN 95788)
                                          jmcginnis@sheppardmullin.com
17                                        MICHAEL W. SCARBOROUGH (SBN 203524)
                                          mscarborough@sheppardmullin.com
18                                        SHEPPARD MULLIN RICHTER &
                                          HAMPTON LLP
19                                        Four Embarcadero Center, 17th Floor
                                          San Francisco, California 94111
20                                        Telephone: (415) 434-9100
                                          Facsimile: (415) 434-3947
21
                                          Attorneys for Defendants Samsung SDI America,
22                                        Inc.; Samsung SDI Co., Ltd.; Samsung SDI
                                          (Malaysia) SDN. BHD.; Samsung SDI Mexico S.A.
23                                        DE C.V.; Samsung SDI Brasil Ltda.; Shenzen
                                          Samsung SDI Co., Ltd. and Tianjin Samsung SDI
24                                        Co., Ltd.
25

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28

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 1                                        BAKER BOTTS LLP
 2                                        By: /s/ John M. Taladay
 3                                        JOHN M. TALADAY (pro hac vice)
                                          john.taladay@bakerbotts.com
 4                                        JOSEPH OSTOYICH (pro hac vice)
                                          joseph.ostoyich@bakerbotts.com
 5                                        ERIK T. KOONS (pro hac vice)
                                          erik.koons@bakerbotts.com
 6                                        CHARLES M. MALAISE (pro hac vice)
                                          charles.malaise@bakerbotts.com
 7                                        BAKER BOTTS LLP
                                          1299 Pennsylvania Ave., N.W.
 8                                        Washington, DC 20004-2400
                                          Telephone: (202) 639-7700
 9                                        Facsimile: (202) 639-7890
10                                        JON V. SWENSON (SBN 233054)
                                          jon.swenson@bakerbotts.com
11                                        BAKER BOTTS LLP
                                          1001 Page Mill Road
12                                        Building One, Suite 200
                                          Palo Alto, CA 94304
13                                        Telephone: (650) 739-7500
                                          Facsimile: (650) 739-7699
14                                        E-mail: jon.swenson@bakerbotts.com
15                                        Attorneys for Defendants Koninklijke Philips N.V.,
                                          Philips Electronics North America Corporation,
16                                        Philips Taiwan Ltd., and Philips do Brasil, Ltda.
17                                        GIBSON, DUNN & CRUTCHER LLP
18                                        By: /s/ Rachel S. Brass
19                                        JOEL S. SANDERS (SBN 107234)
                                          jsanders@gibsondunn.com
20                                        RACHEL S. BRASS (SBN 219301)
                                          rbrass@gibsondunn.com
21                                        AUSTIN V. SCHWING (SBN 211696)
                                          aschwing@gig@gibsondunn.com
22                                        GIBSON, DUNN & CRUTCHER LLP
                                          555 Mission Street, Suite 3000
23                                        San Francisco, California 94105
                                          Tel: (415) 393-8200
24                                        Fax: (415) 393-8306
25                                        Attorneys for Defendant Chunghwa Picture Tubes,
                                          Ltd. and Chunghwa Picture Tubes (Malaysia) Sdn.
26                                        Bhd.
27
28

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 1                                        FRESHFIELDS BRUCKHAUS DERINGER US
                                          LLP
 2
                                          By: /s/ Michael Lacorvara
 3
                                          Michael Lacovara (SBN 209279)
 4                                        Freshfields Bruckhaus Deringer US LLP
                                          601 Lexington Avenue, 31st floor
 5                                        New York, NY 10022
                                          Telephone: (212) 277-4000
 6                                        Facsimile: (212) 277-4001
                                          Email: michael.lacovara@freshfields.com
 7
                                          TERRY CALVANI (SBN 53260)
 8                                        Email: terry.calvani@freshfields.com
                                          CHRISTINE LACIAK(pro hac vice)
 9                                        Email: christine.laciak@freshfields.com
                                          RICHARD SNYDER (pro hac vice)
10                                        Email: richard.snyder@freshfields.com
                                          FRESHFIELDS BRUCKHAUS DERINGER US
11                                        LLP
                                          700 13th Street, NW, 10th Floor
12                                        Washington, DC 20005
                                          Telephone: (202) 777-4565
13                                        Facsimile: (202) 777-4555
14                                        Attorneys for Beijing-Matsushita Color CRT
                                          Company, Ltd.
15

16                                        JENNER & BLOCK LLP
17                                        By: /s/ Terrence J. Truax
18                                        JENNER & BLOCK LLP
                                          Terrence J. Truax (pro hac vice)
19                                        Michael T. Brody (pro hac vice)
                                          353 North Clark Street
20                                        Chicago, Illinois 60654-3456
                                          Telephone: (312) 222-9350
21                                        Facsimile: (312) 527-0484
                                          ttruax@jenner.com
22                                        mbrody@jenner.com
23                                        Brent Caslin (SBN 198682)
                                          JENNER & BLOCK LLP
24                                        633 West Fifth Street, Suite 3600
                                          Los Angeles, California 90071
25                                        Telephone: (213) 239-5100
                                          Facsimile: (213) 239-5199
26                                        bcaslin@jenner.com
27                                        Attorneys for Defendants Mitsubishi Electric
                                          Corporation, Mitsubishi Electric US, Inc. and,
28                                        Mitsubishi Electric Visual Solutions America, Inc.

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 1                                        FAEGRE BAKER DANIELS LLP
 2                                        By: /s/ Kathy L. Osborn
 3                                        Kathy L. Osborn (pro hac vice)
                                          Ryan M. Hurley (pro hac vice)
 4                                        FAEGRE BAKER DANIELS LLP
                                          300 N. Meridian Street, Suite 2700
 5                                        Indianapolis, IN 46204
                                          Telephone: (317) 237-0300
 6                                        Facsimile: (317) 237-1000
                                          kathy.osborn@FaegreBD.com
 7                                        ryan.hurley@FaegreBD.com
 8                                        Jeffrey S. Roberts (pro hac vice)
                                          Email: jeff.roberts@FaegreBD.com
 9                                        FAEGRE BAKER DANIELS LLP
                                          3200 Wells Fargo Center
10                                        1700 Lincoln Street
                                          Denver, CO 80203
11                                        Telephone: (303) 607-3500
                                          Facsimile: (303) 607-3600
12
                                          Stephen M. Judge (pro hac vice)
13                                        Email: steve.judge@FaegreBd.com
                                          Faegre Baker Daniels LLP
14                                        202 S. Michigan Street, Suite 1400
                                          South Bend, IN 46601
15                                        Telephone: (574) 234-4149
                                          Facsimile: (574) 239-1900
16
                                          Attorneys for Defendants Thomson SA and
17                                        Thomson Consumer Electronics, Inc.
18
                                          SQUIRE PATTON BOGGS (US) LLP
19
                                          By: /s/ Nathan Lane, III
20
                                          Nathan Lane, III (SBN 50961)
21                                        Mark C. Dosker (SBN 114789)
                                          SQUIRE PATTON BOGGS (US) LLP
22                                        275 Battery Street, Suite 2600
                                          San Francisco, California 94111
23                                        Telephone: (415) 954-0200
                                          Facsimile: (415) 393-9887
24                                        E-mail: nathan.lane@squiresanders.com
                                          E-mail: mark.dosker@squiresanders.com
25

26

27
28

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     Case 3:07-cv-05944-JST Document 3226 Filed 12/19/14 Page 17 of 17



 1                                        Donald A. Wall (Pro Hac Vice)
                                          SQUIRE PATTON BOGGS (US) LLP
 2                                        1 East Washington Street, Suite 2700
                                          Phoenix, Arizona 85004
 3                                        Telephone: (602) 528-4005
                                          Facsimile: (602) 253-8129
 4                                        Email: donald.wall@squirepb.com
 5                                        Attorneys for Defendant Technologies Displays
                                          Americas LLC with respect to all cases except Office
 6                                        Depot, Inc. v. Technicolor SA, et al. and Sears,
                                          Roebuck and Co., et al. v. Technicolor SA, et al.
 7

 8                                        CURTIS, MALLET-PREVOST, COLT & MOSLE
                                          LLP
 9
                                          By: /s/ Jeffrey I. Zuckerman
10
                                          Jeffrey I. Zuckerman (Pro Hac Vice)
11                                        Ellen Tobin (Pro Hac Vice)
                                          101 Park Avenue
12                                        New York, New York 10178
                                          Telephone: (212) 696-6000
13                                        Facsimile: (212) 697-1559
                                          Email: jzuckerman@curtis.com
14                                                etobin@curtis.com
15                                        Arthur Gaus (SBN 289560)
                                          DILLINGHAM & MURPHY, LLP
16                                        601 California Street, Suite 1900
                                          San Francisco, California 94108
17                                        Telephone: (415) 397-2700
                                          Facsimile: (415) 397-3300
18                                        Email: asg@dillinghammurphy.com
19                                        Attorneys for Defendant Technologies Displays
                                          Americas LLC with respect to Office Depot, Inc. v.
20                                        Technicolor SA, et al. and Sears, Roebuck and Co.,
                                          et al. v. Technicolor SA, et al.
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